              Case 3:20-cv-05802-BHS Document 50 Filed 05/09/24 Page 1 of 4




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                             UNITED STATES DISTRICT COURT
 9                  IN AND FOR THE WESTERN DISTRICT OF WASHINGTON
                                   TACOMA DIVISION
10
     WILL CO. LTD. a limited liability company
11   organized under the laws of Japan,
12                                                       Case No.: 3:20-cv-05802-BHS
                         Plaintiff,
13                 vs.                                   STIPULATED MOTION AND ORDER
                                                         RENOTING PLAINTIFF’S SECOND
14   KA YEUNG LEE, an individual; YOUHAHA                MOTION TO AMEND COMPLAINT
     MARKETING AND PROMOTION LIMITED,
15                                                       NOTING DATE: MAY 9, 2024
     a foreign company; and DOES 1-20, d/b/a
16   THISAV.COM,

17                       Defendants.

18

19
                                          STIPULATED MOTION
20
            COMES NOW Plaintiff Will Co., Inc. (“Plaintiff”) and Defendants Ka Leung Lee and
21
     YouHaHa Marketing and Promotion Limited (“Defendants”), by and through their undersigned
22
     counsel, and respectfully submit this stipulation and proposed order to re-note the hearing for
23
     Plaintiff’s Second Motion to Amend Complaint, Dkt. No. 48, from May 10, 2024 to May 24,
24
     2024. The parties conferred and agreed to the requested extension due to other previously
25
     schedule motion practice in other matters for defendants counsel.
26


       STIPULATED MOTION AND ORDER POSTPONING                            FREEMAN LAW FIRM, INC.
       PLAINTIFF’S MOTION TO AMEND 1                                      1107 ½ Tacoma Avenue South
                                                                              Tacoma, WA 98042
                                                                    (253) 383-4500 - (253) 383-4501 (fax)
               Case 3:20-cv-05802-BHS Document 50 Filed 05/09/24 Page 2 of 4




 1           Accordingly, the parties respectfully request that the Court postpone the hearing for

 2   Plaintiff’s Second Motion to Amend Complain by two weeks, from May 10, 2024 to May 24,

 3   2024.

 4           STIPULATED and AGREED this 9th day of May 2023.

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 6

 7                                                 FREEMAN LAW FIRM, INC.

 8                                                        /s/ Spencer D. Freeman
                                                   Spencer D. Freeman, WSBA#25069
 9                                                 1107 ½ Tacoma Avenue South
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14                                                         /s/Philip Mann
                                                   Philip P. Mann, Esq. (WSBA No. 28860)
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                                                   Mann Law Group PLLC
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19                                                        /s/ Valentin Gurvits
                                                   Valentin D. Gurvits pro hac vice
20                                                 Frank Scardino pro hac vice
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24                                                 matt@bostonlawgroup.com

25                                                       /s/ Evan Fray-Witzer
                                                   Evan Fray-Witzer pro hac vice
26                                                 CIAMPA FRAY-WITZER, LLP


       STIPULATED MOTION AND ORDER POSTPONING                            FREEMAN LAW FIRM, INC.
       PLAINTIFF’S MOTION TO AMEND 2                                      1107 ½ Tacoma Avenue South
                                                                               Tacoma, WA 98042
                                                                       (253) 383-4500 - (253) 383-4501 (fax)
          Case 3:20-cv-05802-BHS Document 50 Filed 05/09/24 Page 3 of 4




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 5                                     Attorneys for Defendant

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     STIPULATED MOTION AND ORDER POSTPONING                FREEMAN LAW FIRM, INC.
     PLAINTIFF’S MOTION TO AMEND 3                          1107 ½ Tacoma Avenue South
                                                                 Tacoma, WA 98042
                                                         (253) 383-4500 - (253) 383-4501 (fax)
             Case 3:20-cv-05802-BHS Document 50 Filed 05/09/24 Page 4 of 4




 1                                            ORDER

 2         Based upon the parties’ Stipulated Motion and Order Re-Noting Plaintiff’s Second Motion

 3   to Amend Complaint, the Court hereby finds good cause to GRANT the stipulated motion and

 4   postpones the hearing for Plaintiff’s Second Motion to Amend Complaint by two weeks, from

 5   May 10, 2024 to May 24, 2024.

 6         SO ORDERED this 9th day of May, 2024.

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                                                      Benjamin H. Settle
10                                                    United States District Judge
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       STIPULATED MOTION AND ORDER POSTPONING                       FREEMAN LAW FIRM, INC.
       PLAINTIFF’S MOTION TO AMEND 4                                 1107 ½ Tacoma Avenue South
                                                                          Tacoma, WA 98042
                                                                  (253) 383-4500 - (253) 383-4501 (fax)
